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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ROME DIVISION

MELANIE HOGAN SLUDER and                    )
RICKY SHAWN CURTIS, Individually and )
as Independent Administrators of the Estate )
of Alexas Marie Sluder, Deceased,           )
                                            )
      Plaintiffs,                           )         CIVIL ACTION FILE NO.:
                                            )         4:24-cv-00181-WMR
v.                                          )
                                            )
REBECKA PHILLIPS, MAVEIS BROOKS,)
RUSSELL BALLARD, SHARON ELLIS, )
DAVID MCKINNEY, MONICA                      )
HEADRICK, and GILMER COUNTY (a )
municipal corporation),                     )
                                            )
      Defendants.                           )

DEFENDANT MONICA HEADRICK’S MOTION TO STAY DISCOVERY
                AND BRIEF IN SUPPORT

      COMES NOW Defendant Monica Headrick (“Defendant Headrick”), by and

through her undersigned counsel of record, and hereby respectfully files this Partial

Motion to Stay Discovery and Brief in Support.

                            Procedurally Relevant Facts

      A criminal case is pending against Defendant Headrick in the Superior Court of

Whitfield County, Case #23CR01094-S; see Joint Preliminary Report and Discovery

Plan, Doc. 39, ¶1(d). This criminal case arises out of the same alleged incident(s) as

this civil action. See Doc. 1, ¶150 (“depriving said child of the necessary medical care
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she needed while in the lawful custody of said defendants by not contacting

emergency medical authorities in a timely manner.”).

      To protect her Fifth Amendment rights against self-incrimination, Defendant

Headrick seeks to stay all discovery requiring her sworn testimony, including

depositions and additional written discovery, until the criminal proceedings are

resolved. It should be noted that on February 10, 2025, the Court entered an Order

granting a substantially similar motion filed by co-Defendant Rebecka Phillips. See

Doc. 72. Defendant Headrick seeks identical relief to that granted to Defendant

Phillips and requested by Defendant Maveis Brooks.

                          Law and Citation of Authority

      A court has the power to stay a civil proceeding due to an active parallel

criminal investigation. SEC v. Healthsouth Corp., 261 F. Supp. 2d 1298, 1326 (N.D.

Ala. 2015). However, “a court must stay a civil proceeding pending resolution of a

related criminal prosecution only when ‘special circumstances' so require in the

‘interests of justice.’” United States v. Lot 5, Fox Grove, Alachua Cnty. Fla., 23 F.3d

359, 364 (11th Cir.1994) (quoting United States v. Kordel, 397 U.S. 1, 12 n. 27, 90

S.Ct. 763, 25 L.Ed.2d 1 (1990)).

      “Whether to stay a parallel civil case is otherwise a matter of district
      court discretion, based on an analysis of the following six factors: 1. The
      extent to which the issues in the criminal case overlap with those
      presented in the civil case; 2. The status of the case, including whether
      the defendants have been indicted; 3. The private interests of the
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      plaintiffs in proceeding expeditiously weighed against the prejudice to
      plaintiffs caused by the delay; 4. The private interests of and burden on
      the defendants; 5. The interests of the courts; and 6. The public interest.”

S.W. v. Clayton Cnty. Pub. Sch., 185 F. Supp. 3d 1366, 1372 (N.D. Ga. 2016)

(citation omitted). District Courts within the Eleventh Circuit have routinely found

that these factors are met when civil defendants face overlapping criminal cases. Id.

Even if this Court finds that no “special circumstances” require a stay, a consideration

of all factors weighs in favor of it.

I.    The extent to which the issues in the criminal case overlap with those
      presented in the civil case.

      There is no question that there is significant overlap with respect to the issues in

both this civil matter and the parallel criminal case. Defendant Headrick was indicted

in the Superior Court of Whitfield County for Cruelty to Children in the Second

Degree. As stated in Plaintiffs’ Complaint Cruelty to Children in the Second Degree

involves “causing a child under the age of eighteen (18) years, cruel and excessive

physical pain by depriving said child of the necessary medical care she needed while

in the lawful custody of said defendants by not contacting emergency medical

authorities in a timely manner.” Doc. 1, ¶150. Similarly, Plaintiffs’ Complaint

alleges that Defendant Headrick “acted objectively unreasonably and with deliberate

indifference towards the safety of Alexis Sluder.” Id. The issues presented in both

the criminal case and the civil case against Defendant Headrick center around the

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alleged deprivation of medical care.

       “The degree to which the issues in the simultaneous civil and criminal

proceedings overlap is the most important threshold issue in deciding whether the

court should stay the civil proceeding.” SEC v. Healthsouth Corp., 216 F. Supp. 2d

1298, 1326 (N.D. Ala. 2003). Here, this factor weighs entirely in favor of granting

Defendant Headrick’s request for a stay.

II.     The status of the case, including whether the defendants have been
       indicted.

       “Courts generally ‘recognize that the case for a stay is strongest where the

defendant has already been indicted.’” SEC v. Rand, Civil Action No. 1:09-CV-

01780-AJB, 2010 WL 11549601, at *6 (N.D. Ga. Dec. 14, 2010) (quoting Chao v.

Fleming, 498 F. Supp. 2d 1034, 1037–38 (W.D. Mich. 2007)). As Defendant

Headrick has already been indicted, this factor also weighs in favor of staying the civil

matter. SEC v. Mohamed, 2023 WL 6217360, at *3 (N.D. Ga. Jul. 10, 2023).

III.   The private interests of the plaintiffs in proceeding expeditiously weighed
       against the prejudice to plaintiffs caused by the delay.

        While the Plaintiffs have an interest in avoiding delay, a criminal defendant

“should not be allowed to make use of the liberal discovery procedures applicable to a

civil suit as a dodge to avoid the restrictions in criminal discovery and thereby obtain

documents he would not otherwise be entitled to use in his criminal suit.” Campbell

v. Eastland, 307 F.2d 478, 487 (5th Cir. 1962). Moreover, “a judge should be
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sensitive to the differences in the rules of discovery in civil and criminal cases.” Id.

Even considering the Plaintiffs’ interest in avoiding delay, this factor weighs in favor

of a stay.

IV.    The private interests of and burden on the defendants.

       It is almost certain that Plaintiffs will seek to depose Defendant Headrick in the

civil matter. As a result, Defendant Headrick will likely face the choice of either

providing substantive testimony that might incriminate her in the parallel criminal

case or invoking her Fifth Amendment privilege against self-incrimination which

could result in an adverse inference in the civil case. A stay of the civil matter would

enable Defendant Headrick to avoid this precarious position. Therefore, this factor

also weighs in favor of a stay.

V.     The interests of the courts.

       As the doctrine of collateral estoppel could “prevent relitigation of issues

subsequently brought in a civil suit to the related issues determined in the criminal

proceedings,” this factor also weighs in favor of stay. In re Fin. Federated Title and

Trust, Inc., 347 F.3d 880, 886 (11th Cir. 2003). In addition to the narrowing of issues,

it is also important to consider the increased possibility of settlement that could

accompany the resolution of the criminal matter.

VI.    The public interest.

       “Administrative policy gives priority to the public interest in law enforcement.”
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 Campbell, 307 F.2d at 487. Additionally, “the criminal prosecution will serve to

advance the public interests at stake here.” Trustees of Plumbers & Pipefitters Nat.

Pension Fund, 886 F. Supp. 1134, 1140 (S.D.N.Y. 1995). For these reasons, this

factor also weighs in favor of stay.

                                       Conclusion

      Because all six factors referred to herein weigh entirely in favor of granting a

stay of this matter and, most importantly, because it is clear from Plaintiffs’

Complaint that Defendant Headrick’s criminal case overlaps this civil matter, this

Court should grant this motion and stay discovery in this case for a period not to

exceed 60 days after the resolution of Defendant Headrick’s criminal trial. For the

Court’s convenience, a proposed Order is attached hereto.



      This 2nd day of April, 2025.

                                         Respectfully submitted,

                                         BUCKLEY CHRISTOPHER &
                                         HENSEL, P.C.

                                         /s/ Timothy J. Buckley III
2970 Clairmont Road NE                   TIMOTHY J. BUCKLEY III
Suite 650                                Georgia State Bar No. 092913
Atlanta, Georgia 30329                   Attorney for Defendant Headrick
(404) 633-9230
(404) 633-9640 (facsimile)
tbuckley@bchlawpc.com

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                         CERTIFICATE OF SERVICE

      I hereby certify that on April 2, 2025, I electronically filed and served the

DEFENDANT MONICA HEADRICK’S DEFENDANT MONICA HEADRICK’S

MOTION TO STAY DISCOVERY AND BRIEF IN SUPPORT upon counsel for

Plaintiff using the CM/ECF which will automatically send notification of such filing

to attorneys of record as follows:

        Harold Boone, Jr., Esq.                        Sam Harton, Esq.
         The Boone Firm P.C.                       Romanucci & Blandin, LLC
         100 Hartsfield Center                         321 N. Clark St.
               Suite 100                              Chicago, IL 60654
        Atlanta, Georgia 30354                        sharton@rblaw.net
       hboonejr@boonefirm.com


                                         Respectfully submitted, 1

                                        BUCKLEY CHRISTOPHER &
                                        HENSEL, P.C.

                                        /s/ Timothy J. Buckley III
2970 Clairmont Road NE                  TIMOTHY J. BUCKLEY III
Suite 650                               Georgia State Bar No. 092913
Atlanta, Georgia 30329                  Attorney for Defendant Headrick
(404) 633-9230
(404) 633-9640 (facsimile)
tbuckley@bchlawpc.com




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 This is to further certify that this document was prepared in Times New Roman
font, 14 point, in compliance with Local Rule 5.1(C).
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